Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       1974-1 Filed:
                                          to 07/24/19
                                              Further1 Confidentiality
                                                       of 72. PageID #: 209124
                                                                            Review

     1           IN THE UNITED STATES DISTRICT COURT
     2            FOR THE NORTHERN DISTRICT OF OHIO
     3                       EASTERN DIVISION
     4
     5
          IN RE NATIONAL PRESCRIPTION        | Case No. 17-MD-2804
     6                                       |
          OPIATE LITIGATION                  | Hon. Dan A. Polster
     7                                       |
          APPLIES TO ALL CASES               |
     8
     9                              - - -
   10                 Thursday, November 15, 2018
   11                               - - -
   12
                HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
   13
                          CONFIDENTIALITY REVIEW
   14
                                    - - -
   15
   16
   17
                Videotaped deposition of JEFF ABERNATHY,
   18     held at the offices of Mitchell Williams,
          4206 South J.B. Hunt Drive, Suite 200, Rogers,
   19     Arkansas, commencing at 9:37 a.m., on the above
          date, before Susan D. Wasilewski, Registered
   20     Professional Reporter, Certified Realtime
          Reporter and Certified Realtime Captioner.
   21
   22
   23                               - - -
   24                  GOLKOW LITIGATION SERVICES
                 877.370.3377 ph | 917.591.5672 fax
   25                        deps@golkow.com

  Golkow Litigation Services                                          Page 1 (1)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       1974-1 Filed:
                                          to 07/24/19
                                              Further2 Confidentiality
                                                       of 72. PageID #: 209125
                                                                            Review
                                                  Page 2                                                    Page 4
    1 APPEARANCES:                                          1                 ---
    2 CARELLA BYRNE CECCHI OLSTEIN BRODY & AGNELLO          2                INDEX
       BY: ZACHARY S. BOWER, ESQUIRE                        3                 ---
    3     MICHAEL A. INNES, ESQUIRE
       5 Becker Farm Road                                   4 Testimony of: JEFF ABERNATHY                 Page
    4 Roseland, New Jersey 07068                            5   DIRECT EXAMINATION BY MR. BOWER................ 8
       (973) 994-1700                                       6   CROSS-EXAMINATION BY MR. MAZZA................. 275
    5 zbower@carellabyrne.com                               7   REDIRECT EXAMINATION BY MR. BOWER.............. 278
       minnes@carellabyrne.com                              8
    6 Representing Plaintiffs
    7                                                                      EXHIBITS
       JONES DAY                                            9
    8 BY: PETER J. MAZZA, ESQUIRE                                       (Attached to transcript)
       4655 Executive Drive, Suite 1500                    10
    9 San Diego, California 92121                             JEFF ABERNATHY DEPOSITION EXHIBITS                PAGE
       (858) 314-1200
   10 pmazza@jonesday.com                                  11
       Representing Walmart                                   Walmart- 07-6045 Pharmacy Logistics          21
   11                                                      12 Abernathy Organizational Chart
   12 JONES DAY                                               Exhibit 1 WMT_MDL_000012771
       BY: SCOTT B. ELMER, ESQUIRE                         13
   13 77 West Wacker                                          Walmart- Pharmacy Distribution            37
       Chicago, Illinois 60601
   14 (312) 782-3939                                       14 Abernathy WMT_MDL_000012752
       selmer@jonesday.com                                    Exhibit 2 Health & Wellness Distribution
   15 Representing Walmart                                 15         WMT_MDL_000012737
   16                                                      16 Walmart- E-mail - Subject: CII Limits      48
       PELINI CAMPBELL & WILLIAMS LLC
                                                              Abernathy WMT_MDL_000009319 and 9320
   17 BY: CRAIG M. EOFF, ESQUIRE
       8040 Cleveland Avenue NW, Suite 400                 17 Exhibit 3
   18 North Canton, Ohio 44720                             18 Walmart- E-mail - Subject: CII Ordering     63
       (330) 305-6400                                         Abernathy 07/23/12
   19 ceoff@pelini-law.com                                 19 Exhibit 4 WMT_MDL_000009321 through 9323
       Representing Prescription Supply Inc.               20 Walmart- E-mail - Subject: Over 20 Report     76
   20
   21 BARBER LAW FIRM                                         Abernathy 2.12.13
       BY: M. EVAN STALLINGS, ESQUIRE                      21 Exhibit 5 WMT_MDL_000009423 and 9424
   22 425 West Capitol Avenue, Suite 3400                  22 Walmart- E-mail - Subject: Over 20 Report     82
       Little Rock, Arkansas 72201                            Abernathy 7.3.13
   23 (501) 372-6175                                       23 Exhibit 6 WMT_MDL_000009987 through 9989
       estallings@barberlawfirm.com
   24 Representing Cardinal Health                         24
   25                                                      25

                                                  Page 3                                                    Page 5
    1 APPEARANCES VIA TELEPHONE AND STREAM:                 1              EXHIBITS
    2  REED SMITH LLP                                       2           (Attached to transcript)
         BY: ABIGAIL PIERCE, ESQUIRE                        3 JEFF ABERNATHY DEPOSITION EXHIBITS                PAGE
    3    1717 Arch Street, Suite 3100                       4
         Philadelphia, Pennsylvania 19103                     Walmart- E-mail - Subject: Meeting Notes -     90
    4    (215) 241-7909                                     5 Abernathy Please Review
         Abigail.pierce@reedsmith.com                         Exhibit 7 WMT_MDL_000009872 through 9875
    5    Representing AmerisourceBergen Drug Corporation    6
    6                                                         Walmart- E-mail - Subject: Agenda          104
         MARCUS & SHAPIRA LLP                               7 Abernathy WMT_MDL_000009838 through 9840
    7    BY: DARLENE NOWAK, ESQUIRE                           Exhibit 8
         One Oxford Centre, 35th Floor                      8
    8    Pittsburgh, Pennsylvania 15219                       Walmart- E-mail - Subject: Reddwerks Order 112
         (412) 471-3490                                     9 Abernathy Alerts
    9    nowak@marcus-shapira.com                             Exhibit 9 WMT_MDL_000017565 through 17569
         Representing HBC Service Company                  10
   10
   11    MORGAN, LEWIS & BOCKIUS LLP                          Walmart- E-mail - Subject: Over 20 Report     117
         BY: JAMES A. NORTEY, II, ESQUIRE                  11 Abernathy 4.3.14
   12    1000 Louisiana Street, Suite 4000                    Exhibit 10 WMT_MDL_000009397 and 9398
         Houston, Texas 77002-5005                         12
   13    (713) 890-5000                                       Walmart- E-mail - Subject: Over 20 Report     123
         james.nortey@morganlewis.com                      13 Abernathy 8.14.14
   14    Representing Rite Aid                                Exhibit 11 WMT_MDL_000009393 and 9394
   15                                                      14
         ROPES & GRAY LLP                                     Walmart- E-mail - Subject: Policy to be    129
   16    BY: TORRYN TAYLOR, ESQUIRE                        15 Abernathy Covered in Today's Call
         Three Embarcadero Center                             Exhibit 12 WMT_MDL_000017510 through 17514 and
   17    San Francisco, California 94111                   16         19182 through 19184
         (415) 315-6300                                    17 Walmart- E-mail - Subject: Over 20/50 Report 139
   18    torryn.taylor@ropesgray.com                          Abernathy WMT_MDL_000009807 and 9808
         Representing Mallinckrodt                         18 Exhibit 13
   19                                                      19 Walmart- E-mail - Subject: SOM Interim        159
   20    BARTLIT BECK LLP                                     Abernathy Process - Launch Oct 27
         BY: ALEX HARRIS, ESQUIRE                          20 Exhibit 14 WMT_MDL_000011656 through 11659
   21    1801 Wewatta Street, Suite 1200                   21 Walmart- E-mail - Subject: Logistics SOM      176
         Denver, Colorado 80202                               Abernathy webform
   22    (303) 592-3100                                    22 Exhibit 15 WMT_MDL_000016261 through 16263
         alex harris@bartlit-beck.com
   23    Representing Walgreens                            23 Walmart- E-mail - Subject: Control Drug      179
   24   ALSO PRESENT:                                         Abernathy Monitoring
         DAN LAWLOR, Videographer                          24 Exhibit 16 WMT_MDL_000009075
   25    PAUL D. MORRIS, ESQUIRE, Walmart Legal            25

  Golkow Litigation Services                                                              Page 2 (2 - 5)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       1974-1 Filed:
                                          to 07/24/19
                                              Further3 Confidentiality
                                                       of 72. PageID #: 209126
                                                                            Review
                                                       Page 6                                                         Page 8
    1             EXHIBITS                                        1                   ---
    2          (Attached to transcript)
                                                                  2         THE VIDEOGRAPHER: We are now on the record.
    3 JEFF ABERNATHY DEPOSITION EXHIBITS                  PAGE
    4 Walmart- E-mail - Subject: Quantity Cuts   181              3     My name is Dan Lawlor. I'm a videographer with
      Abernathy WMT_MDL_000009277                                 4     Golkow Litigation Services. Today's date is
    5 Exhibit 17
    6 Walmart- E-mail - Subject: 405 report DC   185              5     November 15th, 2018, and the time is 9:37 a.m.
      Abernathy 6045- Sept.                                       6         This video deposition is being held in
    7 Exhibit 18 WMT_MDL_000042782 and 42783
    8 Walmart- E-mail - Subject: SOM web forms     188            7     Rogers, Arkansas, in the matter of
      Abernathy WMT_MDL_000016313                                 8     National Prescription Opiate Litigation MDL
    9 Exhibit 19
   10 Walmart- E-mail - Subject: Over 20 Report   203
                                                                  9     Number 2804.
      Abernathy WMT_MDL_000030175 through 30177                  10         The deponent today is Jeff Abernathy. The
   11 Exhibit 20                                                 11     counsel will be noted on the stenographic record.
   12 Walmart- E-mail - Subject: Over 20 Report   203
      Abernathy WMT_MDL_000030184 through 30186                  12         The court reporter is Susan Wasilewski and
   13 Exhibit 21                                                 13     will now swear in the witness.
   14 Walmart- Health &Wellness POM Alerts Guide      212
      Abernathy 3/31/2016                                        14         THE COURT REPORTER: Sir, would you raise
   15 Exhibit 22 WMT_MDL_000034340                               15     your right hand?
   16 Walmart- E-mail - Subject: Oxy List Update 234
      Abernathy WMT_MDL_000008070 and 8071                       16         Do you solemnly swear or affirm the
   17 Exhibit 23                                                 17     testimony you're about to give will be the truth,
   18 Walmart- E-mail - Subject: H&W Weekly Update 254
      Abernathy Week 2
                                                                 18     the whole truth, and nothing but the truth?
   19 Exhibit 24 WMT_MDL_000001004 and 1005                      19         THE WITNESS: Yes.
   20 Walmart- E-mail - Subject: MCKESSON AGREES 243             20         THE COURT REPORTER: Thank you.
      Abernathy TO PAY RECORD $150 MILLION
   21 Exhibit 25 SETTLEMENT FOR FAILURE TO REPORT                21         JEFF ABERNATHY, called as a witness by the
              SUSPICIOUS ORDERS OF PHARMACEUTICAL                22   Plaintiffs, having been duly sworn, testified as
   22         DRUGS
              WMT_MDL_000002729 through 2731                     23   follows:
   23                                                            24               DIRECT EXAMINATION
   24
   25
                                                                 25   BY MR. BOWER:

                                                       Page 7                                                          Page 9
    1              EXHIBITS                                       1     Q. Good morning, Mr. Abernathy. How are you
    2          (Attached to transcript)                           2   today?
    3 JEFF ABERNATHY DEPOSITION EXHIBITS                    PAGE
    4
                                                                  3     A. Good.
      Walmart- E-mail - Subject: Control Flow       247           4     Q. Thank you for being here. We appreciate it.
    5 Abernathy WMT_MDL_000034546 and 34547                       5     A. Thank you.
      Exhibit 26
    6
                                                                  6     Q. Have you ever been deposed before?
      Walmart- Drug Diversion Review Documents          261       7     A. No, sir.
    7 Abernathy WMT_MDL_000045963 through 46007                   8     Q. No, sir. So just -- before we get started,
      Exhibit 27                                                  9   let me go over a few important rules. I think the
    8
      Walmart- Walmart Inc.'s Amended and           257
                                                                 10   most important of which is make sure you understand
    9 Abernathy Supplemental Objections and                      11   my questions. So I would ask that at any point
      Exhibit 28 Responses to Plaintiffs' First Set              12   during the day you don't understand the question,
   10         of Interrogatories to Wal-Mart Inc.                13   will you let me know and I'll try to rephrase so you
   11 Walmart- E-mail - Subject: WV call follow up 269
      Abernathy WMT_MDL_000011626 through 11629                  14   understand it.
   12 Exhibit 29                                                 15         Do you understand that?
   13                                                            16     A. Yes.
   14
   15
                                                                 17     Q. And if you don't ask me, if you don't let me
   16                                                            18   know, I'll expect that you do understand the
   17                                                            19   question.
   18                                                            20     A. Okay.
   19
   20
                                                                 21     Q. Okay? And perhaps the most other important
   21                                                            22   rule is that you do not answer with a shaking your
   22                                                            23   head or a nod. You must answer verbally yes or no.
   23
   24
                                                                 24   Okay?
   25                                                            25     A. Yes, sir.

  Golkow Litigation Services                                                                      Page 3 (6 - 9)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       1974-1 Filed:
                                          to 07/24/19
                                              Further4 Confidentiality
                                                       of 72. PageID #: 209127
                                                                            Review
                                                   Page 10                                                        Page 12
    1        MR. MAZZA: Mr. Bower, can I ask, are we --        1     there is a dispute about that, and you've been in
    2     are we going to enter our appearances on the         2     communication with Ms. Fulmerton from our office.
    3     record?                                              3     But I can represent that all the documents that
    4        THE COURT REPORTER: They'll be noted on the       4     Mr. Abernathy reviewed have been produced.
    5     stenographic record.                                 5         MR. BOWER: Okay.
    6        MR. MAZZA: Okay. Thanks.                          6   BY MR. BOWER:
    7   BY MR. BOWER:                                          7     Q. And when did you meet with outside counsel?
    8     Q. Mr. Abernathy, you understand you're under        8     A. During the same time.
    9   oath today, correct?                                   9     Q. Same time. Was outside counsel present for
   10     A. Yes, sir.                                        10   all those meetings?
   11     Q. Okay. Are you taking any medication or is        11     A. Yes, sir.
   12   there any other reason that would interfere with      12     Q. Other than the attorneys that sit here
   13   your ability to testify truthfully today?             13   today, any other outside counsel that was present?
   14     A. No.                                              14     A. There were some other outside counsel that,
   15     Q. Okay. Have you ever testified in any other       15   like I said, they came in and out as well.
   16   type of legal proceeding other than a deposition?     16     Q. Okay. So the folks who came out -- in and
   17     A. No.                                              17   out were outside counsel or Walmart counsel?
   18     Q. How did you prepare for today's deposition?      18     A. They were both.
   19     A. I met with some Walmart legal people and         19     Q. Okay. Do you know the names of any of those
   20   some outside counsel this week.                       20   folks?
   21     Q. Who did you meet with at Walmart?                21     A. One of them, her name was Tina.
   22     A. Paul was there. There were some other --         22     Q. Okay. Any other names you recall?
   23   other guys that came in and out. I don't -- I don't   23     A. No, sir.
   24   know who they were.                                   24     Q. Can you briefly describe for us your
   25     Q. Okay. Approximately how many people did you      25   education post high school?

                                                      Page 11                                                Page 13
    1   meet with?                                             1   A. I have a bachelor's degree in finance from
    2     A. There was probably five or six people in          2 the University of Louisiana at Monroe.
    3   there, most of the day.                                3   Q. What year did you graduate?
    4     Q. Okay. Were they all attorneys, do you know?       4   A. 1997.
    5     A. I believe they were.                              5   Q. Since 1997, have you received any other
    6     Q. Do you know whether they were or not?             6 educational -- formal educational training?
    7     A. I don't know that they were. I -- I just --       7   A. No.
    8   I assumed they were. They were counsel, is what
    9   they said, so --
   10     Q. About how long did you meet with them?
   11     A. We met about probably six hours on Tuesday
   12   and about the same amount of time on Wednesday.
   13     Q. Did you review any documents during these
   14   meetings?
   15     A. I saw a few documents.
   16     Q. Did any of those documents refresh your
   17   recollection for today's testimony?
   18     A. No, sir.
   19     Q. Do you know whether all of those documents
   20   have been produced in this litigation?
   21     A. I don't know.
   22     Q. Do you understand that to the extent that
   23   those documents were not produced, you should have 23      Q. Okay. So you graduated from college in
   24   brought them with you here today?                     24 1997, correct?
   25        MR. MAZZA: I object. I understand that           25   A. Yes, sir.

  Golkow Litigation Services                                                               Page 4 (10 - 13)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       1974-1 Filed:
                                          to 07/24/19
                                              Further5 Confidentiality
                                                       of 72. PageID #: 209128
                                                                            Review
                                    Page 14                                 Page 16




                                    Page 15                                 Page 17




  Golkow Litigation Services                                  Page 5 (14 - 17)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       1974-1 Filed:
                                          to 07/24/19
                                              Further6 Confidentiality
                                                       of 72. PageID #: 209129
                                                                            Review
                                    Page 18                                 Page 20




                                    Page 19                                 Page 21




  Golkow Litigation Services                                  Page 6 (18 - 21)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       1974-1 Filed:
                                          to 07/24/19
                                              Further7 Confidentiality
                                                       of 72. PageID #: 209130
                                                                            Review
                                    Page 22                                                          Page 24




                                              15    Q. Sir, were you aware in 2007, that Walmart,
                                              16 as a distributor of controlled substances, had an
                                              17 obligation to monitor for suspicious orders?
                                              18    A. I wouldn't -- I don't know that I was aware
                                              19 of an obligation. We did -- we did monitor for --
                                              20 we did monitor orders, so --
                                              21    Q. Can you be more specific when you say "we
                                              22 did monitor orders"?
                                              23    A. I mean, we -- we would print 222 forms every
                                              24 day in this time frame. So we would pull those 222
                                              25 forms for however many stores we needed that day,

                                    Page 23                                                      Page 25
                                               1   and we would print those 222 forms. And the ladies
                                               2   who were physically printing those forms, they
                                               3   looked at those orders; and if they saw something
                                               4   that maybe looked like it was kind of high, just
                                               5   based on their knowledge of what they were doing,
                                               6   they would -- they would let us know.




  Golkow Litigation Services                                                Page 7 (22 - 25)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       1974-1 Filed:
                                          to 07/24/19
                                              Further8 Confidentiality
                                                       of 72. PageID #: 209131
                                                                            Review
                                    Page 26                                 Page 28




                                    Page 27                                 Page 29




  Golkow Litigation Services                                  Page 8 (26 - 29)
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       1974-1 Filed:
                                          to 07/24/19
                                              Further9 Confidentiality
                                                       of 72. PageID #: 209132
                                                                            Review
                                    Page 30                                                    Page 32




                                    Page 31                                                    Page 33




                                              16     Q. Sir, were you aware that in 2007, the nation
                                              17   was undergoing an opioid epidemic?
                                              18     A. No, sir.
                                              19     Q. And when did you -- are you -- as you sit
                                              20   here today, are you aware that the nation is
                                              21   undergoing an opioid epidemic?
                                              22     A. I mean, yes, from what I've seen on TV.
                                              23     Q. Okay. When was the first time you became
                                              24   aware of it?
                                              25     A. I don't -- I don't know a date. I mean --

  Golkow Litigation Services                                              Page 9 (30 - 33)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further10Confidentiality
                                                       of 72. PageID #: 209133
                                                                           Review
                                                      Page 34              Page 36
    1     Q. Approximately?
    2     A. Probably a year or so ago.
    3     Q. Of 2017?
    4     A. 2016, like during the campaigns for
    5   presidency, you know, it seems like it came up.




                                                     Page 35               Page 37




   Golkow Litigation Services                                   Page 10 (34 - 37)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further11Confidentiality
                                                       of 72. PageID #: 209134
                                                                           Review
                                    Page 38                                Page 40




                                    Page 39                                Page 41




   Golkow Litigation Services                               Page 11 (38 - 41)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further12Confidentiality
                                                       of 72. PageID #: 209135
                                                                           Review
                                                     Page 42                                                      Page 44




   23   A. So the picking folks were responsible for
   24 filling the order that came to them, yes.                  24      MR. BOWER: Why don't we take a quick break?
   25   Q. And Walmart, in 2010, had a policy in place           25    We've been going about an hour.

                                                       Page 43                                                     Page 45
    1   where the folks who were responsible for picking the      1        MR. MAZZA: Okay.
    2   orders would also report to you if they saw anything      2        MR. BOWER: Just like five minutes.
    3   suspicious?                                               3        MR. MAZZA: Sure.
    4     A. I can't say that there was a policy stating          4        THE VIDEOGRAPHER: Going off record. The
    5   that. They -- they would just do that.                    5    time is 10:29.
                                                                  6      (Recess from 10:29 a.m. until 10:42 a.m.)
                                                                  7        THE VIDEOGRAPHER: We're going back on the
                                                                  8    record, beginning of Media File Number 2. The
                                                                  9    time is 10:42.
                                                                 10   BY MR. BOWER:




   Golkow Litigation Services                                                              Page 12 (42 - 45)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further13Confidentiality
                                                       of 72. PageID #: 209136
                                                                           Review
                                    Page 46                                Page 48




                                    Page 47                                Page 49




   Golkow Litigation Services                               Page 13 (46 - 49)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further14Confidentiality
                                                       of 72. PageID #: 209137
                                                                           Review
                                    Page 50                                Page 52




                                    Page 51                                Page 53




   Golkow Litigation Services                               Page 14 (50 - 53)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further15Confidentiality
                                                       of 72. PageID #: 209138
                                                                           Review
                                    Page 54                                Page 56




                                    Page 55                                Page 57




   Golkow Litigation Services                               Page 15 (54 - 57)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further16Confidentiality
                                                       of 72. PageID #: 209139
                                                                           Review
                                                   Page 58                                                          Page 60
                                                                1   that way so that we could see here is all of my
                                                                2   oxy-30s that were over 20 and here's all the other
                                                                3   drugs that were over 50.
                                                                4     Q. And if another dosage of oxycodone was over
                                                                5   50, what would you do?
                                                                6         MR. MAZZA: Object; form.
                                                                7     Q. I'll strike that.
                                                                8         If another order came in for another dosage
                                                                9   of oxycodone that was not oxy-30s, it was oxy-10s or
                                                               10   oxy-5s, that was over 50 bottles -- we're talking
                                                               11   bottles, correct?
                                                               12     A. Yes.
                                                               13     Q. Okay. What would you do?
                                                               14     A. So I guess I don't understand when you say
                                                               15   "another order." Like the next store in line?
                                                               16     Q. Well, let's -- let's take a step back. All
                                                               17   right.
                                                               18     A. Okay.
                                                               19     Q. Go back to my first example, right. A store
                                                               20   orders 51 bottles of oxy-5 milligrams on Monday.
                                                               21     A. Okay.
                                                               22     Q. The order comes in on Monday. You get your
                                                               23   printout of that order. Then what happens?
                                                               24     A. So then we would send that over to the team,
                                                               25   the teams I spelled out, and we would say, "This

                                                   Page 59                                                           Page 61
                                                                1   store for this product ordered 51 bottles."
                                                                2     Q. And from your perspective, what would happen
                                                                3   next?
                                                                4     A. Then we would wait. If they would send us
                                                                5   back whatever communication or if we needed to do
    6         So during this time period in 2012, let's         6   something with the order, we would just wait for
    7   say an order for oxy 5 milligram comes in on a          7   that.
    8   Monday for 51 bottles. Okay?                            8     Q. And how would they inform you of what to do
    9     A. For which drug?                                    9   with the order?
   10     Q. Oxy 5 milligrams.                                 10     A. E-mail.
   11     A. Okay.                                             11     Q. And that's what happened on a daily basis,
   12     Q. Okay? You're supposed to have a process in        12   correct?
   13   place, right, where you look at orders over 50,        13     A. Yes, sir.
   14   correct?                                               14     Q. During this time period, when would you have
   15     A. Yes.                                              15   expected to hear back from them regarding what to do
   16     Q. Okay. And what was the expectation as to --       16   with the order?
   17   with respect to when that order would be filled and    17     A. So we shipped every day at 3:00 p m. I mean
   18   shipped, if the order came in on a Monday?             18   we had had discussion, that's the -- that's the time
   19     A. So Monday morning, typically when Jimmie          19   we ship. They had known that. So if we didn't hear
   20   came in, since he was the first one in, before we      20   anything back by 3:00 p.m., then we went ahead and
   21   started the pick process, he would pull all of those   21   shipped the item.
   22   orders and export it to a spreadsheet and then we
   23   would, you know, sort those to show me orders or in
   24   the order column, show me everything over 50, show
   25   me all the oxy's over 30, and we would filter it out

   Golkow Litigation Services                                                              Page 16 (58 - 61)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further17Confidentiality
                                                       of 72. PageID #: 209140
                                                                           Review
                                    Page 62                                                     Page 64




                                              24    A. Yes, sir.
                                              25    Q. Okay. And at this point in the day, at
                                    Page 63                                                     Page 65
                                               1   9:38 a.m., had he already reviewed that day's
                                               2   orders?
                                               3     A. Yes, sir.
                                               4     Q. And he had decided to cut some orders,
                                               5   correct?
                                               6     A. Yes, sir.
                                               7     Q. And he had decided to not cut other orders,
                                               8   correct?
                                               9     A. Yes, sir.
                                              10     Q. Okay. Had he -- had -- strike that.
                                              11         For the orders that he decided to cut, what
                                              12   would be the basis for that decision?
                                              13         MR. MAZZA: Object; foundation.
                                              14     A. I -- I don't know. I mean --
                                              15     Q. Well, sir, you also had -- this was also
                                              16   your responsibility at the time period, correct?
                                              17     A. It was my responsibility if I came in first
                                              18   that day.
                                              19     Q. Right. So what was the criteria for
                                              20   cutting?
                                              21     A. If anything over 20 bottles of oxycodone-30,
                                              22   cut it to 20.




   Golkow Litigation Services                                          Page 17 (62 - 65)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further18Confidentiality
                                                       of 72. PageID #: 209141
                                                                           Review
                                    Page 66                                Page 68




                                    Page 67                                Page 69




   Golkow Litigation Services                               Page 18 (66 - 69)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further19Confidentiality
                                                       of 72. PageID #: 209142
                                                                           Review
                                    Page 70                                Page 72




                                    Page 71                                Page 73




   Golkow Litigation Services                               Page 19 (70 - 73)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further20Confidentiality
                                                       of 72. PageID #: 209143
                                                                           Review
                                              Page 74                      Page 76




                                              Page 75                      Page 77




   20   Q. You weren't aware of the epidemic, correct?
   21     MR. MAZZA: Objection; form.
   22   A. No, sir.




   Golkow Litigation Services                               Page 20 (74 - 77)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further21Confidentiality
                                                       of 72. PageID #: 209144
                                                                           Review
                                    Page 78                                                   Page 80

                                               2     Q. And that was because Walmart had a strict
                                               3   policy that was based on a threshold number,
                                               4   correct?
                                               5     A. The direction given to me was to cut
                                               6   anything Over 20 bottles on the 30, report anything
                                               7   over 50 bottles of anything else.
                                               8     Q. And therefore the direction was to not
                                               9   report any order under 50 bottles unless it was
                                              10   oxy-30, correct?
                                              11     A. Not to report anything under 50 for anything
                                              12   other than oxy-30, yes, sir.
                                              13     Q. And when you say report, what do you mean?
                                              14     A. To notify these people on this list.
                                              15     Q. So it would be notify and either wait and
                                              16   notify, and if you didn't hear anything, then to
                                              17   ship?
                                              18     A. To notify and wait and if I didn't hear
                                              19   anything, I just shipped. I didn't notify that I
                                              20   shipped it.




                                    Page 79                                                   Page 81




   Golkow Litigation Services                                           Page 21 (78 - 81)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further22Confidentiality
                                                       of 72. PageID #: 209145
                                                                           Review
                                    Page 82                                Page 84




                                    Page 83                                Page 85




   Golkow Litigation Services                               Page 22 (82 - 85)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further23Confidentiality
                                                       of 72. PageID #: 209146
                                                                           Review
                                    Page 86                                Page 88




                                    Page 87                                Page 89




   Golkow Litigation Services                               Page 23 (86 - 89)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further24Confidentiality
                                                       of 72. PageID #: 209147
                                                                           Review
                                    Page 90                                Page 92




                                    Page 91                                Page 93




   Golkow Litigation Services                               Page 24 (90 - 93)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further25Confidentiality
                                                       of 72. PageID #: 209148
                                                                           Review
                                                  Page 94                  Page 96




   16     Q. Sir, were you aware by this time in 2013 the
   17   country was in the middle of an opioid epidemic?
   18     A. No, sir.




                                                  Page 95                  Page 97




   Golkow Litigation Services                               Page 25 (94 - 97)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further26Confidentiality
                                                       of 72. PageID #: 209149
                                                                           Review
                                    Page 98                               Page 100




                                    Page 99                               Page 101




   Golkow Litigation Services                              Page 26 (98 - 101)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further27Confidentiality
                                                       of 72. PageID #: 209150
                                                                           Review
                                   Page 102                                               Page 104




                                              18      MR. MAZZA: Do you want to --
                                              19      MR. BOWER: Let's do.
                                              20      MR. BOWER: Can we go off the record for a
                                              21    minute.
                                              22         (Discussion off the record.)
                                              23   BY MR. BOWER:



                                   Page 103                                               Page 105




                                              17    Q. Sure. That's -- why don't we do this, then.
                                              18   Why don't we take lunch now.
                                              19        MR. MAZZA: And come back here?
                                              20        MR. BOWER: Come back and start here since
                                              21    it seems to be a new area.
                                              22        THE VIDEOGRAPHER: Going off the record.
                                              23    The time is 12:12.
                                              24      (Recess from 12:12 p m. until 12:53 p.m.)
                                              25        THE VIDEOGRAPHER: We're back on the record.

   Golkow Litigation Services                                      Page 27 (102 - 105)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further28Confidentiality
                                                       of 72. PageID #: 209151
                                                                           Review
                                                  Page 106                Page 108
    1    Beginning of Media File Number 3. The time is
    2    12:53.
    3   BY MR. BOWER:
    4    Q. We're back on the record, Mr. Abernathy.
    5       You understand you're still under oath, sir?
    6    A. Yes.




                                                 Page 107                 Page 109




   Golkow Litigation Services                                Page 28 (106 - 109)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further29Confidentiality
                                                       of 72. PageID #: 209152
                                                                           Review
                                   Page 110                               Page 112




                                   Page 111                               Page 113




   Golkow Litigation Services                             Page 29 (110 - 113)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further30Confidentiality
                                                       of 72. PageID #: 209153
                                                                           Review
                                   Page 114                               Page 116




                                   Page 115                               Page 117




   Golkow Litigation Services                             Page 30 (114 - 117)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further31Confidentiality
                                                       of 72. PageID #: 209154
                                                                           Review
                                   Page 118                               Page 120




                                   Page 119                               Page 121




   Golkow Litigation Services                             Page 31 (118 - 121)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further32Confidentiality
                                                       of 72. PageID #: 209155
                                                                           Review
                                                   Page 122                  Page 124




   24    A. For the time period that we were doing the
   25   Over 20 Report?

                                                     Page 123                Page 125
    1    Q.    Right.
    2    A.    We would be the ones cutting them at the DC.
    3    Q.    And someone --
    4    A.    If we were instructed to do that.
    5    Q.    Right.
    6         And how would -- how would -- how would of
    7   those -- those instructions come to you, via e-mail
    8   or telephone?
    9     A. E-mail.
   10     Q. Do you recall an instance -- any instance
   11   where you got an e-mail to cut an order?
   12     A. I don't remember any given instance to --
   13   that we did that.
   14     Q. Do you remember that ever happening in this
   15   four- to five-year time frame?
   16     A. In this time frame for the Over 20 Report, I
   17   don't remember -- I don't remember me getting any
   18   kind of a phone call or an e-mail to cut an order.
   19     Q. So you guys were running these reports daily
   20   for four to five years, and you never recall
   21   receiving any direction to cut an order; is that
   22   correct?
   23     A. I don't remember -- I don't remember getting



   Golkow Litigation Services                                   Page 32 (122 - 125)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further33Confidentiality
                                                       of 72. PageID #: 209156
                                                                           Review
                                   Page 126                               Page 128




                                   Page 127                               Page 129




   Golkow Litigation Services                             Page 33 (126 - 129)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further34Confidentiality
                                                       of 72. PageID #: 209157
                                                                           Review
                                   Page 130                                                Page 132




                                              16       MR. BOWER: Why don't we just pause and go
                                              17    off the record for a minute and see if we can --
                                              18       MR. MAZZA: There are folks on the line,
                                              19    right?
                                              20       THE VIDEOGRAPHER: We're going off the
                                              21    record. The time is 1:38.
                                              22       (Recess from 1:38 p.m. until 1:43 p m.)
                                              23       THE VIDEOGRAPHER: Going back on record.
                                              24    Beginning of Media File Number 4. The time is
                                              25    1:43.

                                   Page 131                                                Page 133
                                               1   BY MR. BOWER:




   Golkow Litigation Services                                      Page 34 (130 - 133)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further35Confidentiality
                                                       of 72. PageID #: 209158
                                                                           Review
                                   Page 134                               Page 136
                                              1




                                   Page 135                               Page 137




   Golkow Litigation Services                             Page 35 (134 - 137)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further36Confidentiality
                                                       of 72. PageID #: 209159
                                                                           Review
                                                     Page 138                Page 140
    1     Q. Are you familiar with any time period, based
    2   on your experience at 6045, when an order that
    3   showed up on an Over 20 Report had to wait four days
    4   before it was shipped?
    5     A. For the Over 20 Report, I don't ever
    6   remember holding an order during the time frame we
    7   were using that report.




                                                   Page 139                  Page 141




   Golkow Litigation Services                                   Page 36 (138 - 141)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further37Confidentiality
                                                       of 72. PageID #: 209160
                                                                           Review
                                   Page 142                               Page 144




                                   Page 143                               Page 145




   Golkow Litigation Services                             Page 37 (142 - 145)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further38Confidentiality
                                                       of 72. PageID #: 209161
                                                                           Review
                                   Page 146                               Page 148




                                   Page 147                               Page 149




   Golkow Litigation Services                             Page 38 (146 - 149)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further39Confidentiality
                                                       of 72. PageID #: 209162
                                                                           Review
                                   Page 150                                               Page 152




                                              14   Q. Did you report those orders to the DEA?
                                              15   A. I did not.




                                   Page 151                                               Page 153




   Golkow Litigation Services                                     Page 39 (150 - 153)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further40Confidentiality
                                                       of 72. PageID #: 209163
                                                                           Review
                                   Page 154                               Page 156




                                   Page 155                               Page 157




   Golkow Litigation Services                             Page 40 (154 - 157)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further41Confidentiality
                                                       of 72. PageID #: 209164
                                                                           Review
                                                 Page 158                 Page 160




   18       MR. MAZZA: Zach, we've been going for over
   19   an hour 45. So if you want to -- whenever you
   20   are done with --
   21       MR. BOWER: Sure. That's fine. We can take
   22   a break now. I think I'm done.
   23       THE VIDEOGRAPHER: Going off the record.
   24   The time is 2:20.
   25      (Recess from 2:20 p m. until 2:41 p.m.)

                                                  Page 159                Page 161
    1      THE VIDEOGRAPHER: We're going back on the
    2   record the beginning of Media File Number 5. The
    3   time is 2:41.




   Golkow Litigation Services                                Page 41 (158 - 161)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further42Confidentiality
                                                       of 72. PageID #: 209165
                                                                           Review
                                   Page 162                               Page 164




                                   Page 163                               Page 165




   Golkow Litigation Services                             Page 42 (162 - 165)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further43Confidentiality
                                                       of 72. PageID #: 209166
                                                                           Review
                                   Page 166                               Page 168




                                   Page 167                               Page 169




   Golkow Litigation Services                             Page 43 (166 - 169)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further44Confidentiality
                                                       of 72. PageID #: 209167
                                                                           Review
                                   Page 170                               Page 172




                                   Page 171                               Page 173




   Golkow Litigation Services                             Page 44 (170 - 173)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further45Confidentiality
                                                       of 72. PageID #: 209168
                                                                           Review
                                                  Page 174                                    Page 176
                                                             1   other?
                                                             2     A. No, sir.




   11     Q. Do you know that, sir, do you know whether
   12   people are dying from abusing these drugs?
   13       MR. MAZZA: Same objection.
   14     A. I mean, what I see on TV, yes, sir.
   15     Q. Other than what you've seen on TV and your
   16   experience at work, did you know that people were
   17   dying in 2007, 2008, 2009 from abusing these
   18   schedule 2 narcotics?
   19     A. I didn't know.




                                                  Page 175                                    Page 177




   21     Q. Has the opioid epidemic affected your
   22   community at all?
   23     A. I mean, I'm sure it has but I don't -- I
   24   don't know.
   25     Q. You don't know specifically one way or the

   Golkow Litigation Services                                                    Page 45 (174 - 177)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further46Confidentiality
                                                       of 72. PageID #: 209169
                                                                           Review
                                   Page 178                               Page 180




                                                                               w

                                   Page 179                               Page 181




   Golkow Litigation Services                             Page 46 (178 - 181)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further47Confidentiality
                                                       of 72. PageID #: 209170
                                                                           Review
                                   Page 182                               Page 184




                                   Page 183                               Page 185




   Golkow Litigation Services                             Page 47 (182 - 185)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further48Confidentiality
                                                       of 72. PageID #: 209171
                                                                           Review
                                   Page 186                               Page 188




                                   Page 187                               Page 189




   Golkow Litigation Services                             Page 48 (186 - 189)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further49Confidentiality
                                                       of 72. PageID #: 209172
                                                                           Review
                                   Page 190                               Page 192




                                   Page 191                               Page 193




   Golkow Litigation Services                             Page 49 (190 - 193)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further50Confidentiality
                                                       of 72. PageID #: 209173
                                                                           Review
                                   Page 194                               Page 196




                                   Page 195                               Page 197




   Golkow Litigation Services                             Page 50 (194 - 197)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further51Confidentiality
                                                       of 72. PageID #: 209174
                                                                           Review
                                               Page 198                   Page 200




   21       MR. MAZZA: Zach, whenever you are at a good
   22   spot.
   23       MR. BOWER: Why don't we do that, I'll
   24   digest that answer and see if I have any
   25   follow-up questions.

                                               Page 199                   Page 201
    1      MR. MAZZA: I'm not trying to rush you.
    2      MR. BOWER: No. I think it is a good time
    3   because I --
    4      MR. MAZZA: Okay.
    5      THE VIDEOGRAPHER: Going off the record at
    6   3:56.
    7     (Recess from 3:56 p m. until 4:14 p.m.)
    8      THE VIDEOGRAPHER: Going back on the record.
    9   Beginning media file number 6. The time is 4:14.




   Golkow Litigation Services                              Page 51 (198 - 201)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further52Confidentiality
                                                       of 72. PageID #: 209175
                                                                           Review
                                   Page 202                               Page 204




                                   Page 203                               Page 205




   Golkow Litigation Services                             Page 52 (202 - 205)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further53Confidentiality
                                                       of 72. PageID #: 209176
                                                                           Review
                                   Page 206                               Page 208




                                   Page 207                               Page 209




   Golkow Litigation Services                             Page 53 (206 - 209)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further54Confidentiality
                                                       of 72. PageID #: 209177
                                                                           Review
                                   Page 210                               Page 212




                                   Page 211                               Page 213




   Golkow Litigation Services                             Page 54 (210 - 213)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further55Confidentiality
                                                       of 72. PageID #: 209178
                                                                           Review
                                   Page 214                               Page 216




                                   Page 215                               Page 217




   Golkow Litigation Services                             Page 55 (214 - 217)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further56Confidentiality
                                                       of 72. PageID #: 209179
                                                                           Review
                                                 Page 218                                                 Page 220
                                                            1   2016?
                                                            2     A. That there was a -- according to the TV,
                                                            3   that there was an epidemic.




                                                 Page 219                                                Page 221




   22   Q. At this point, were you aware of the
   23 epidemic, sir?
   24   A. I knew that there was an issue, yes, sir.
   25   Q. What was your understanding of the issue in

   Golkow Litigation Services                                                    Page 56 (218 - 221)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further57Confidentiality
                                                       of 72. PageID #: 209180
                                                                           Review
                                   Page 222                               Page 224




                                   Page 223                               Page 225




   Golkow Litigation Services                             Page 57 (222 - 225)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further58Confidentiality
                                                       of 72. PageID #: 209181
                                                                           Review
                                   Page 226                               Page 228




                                   Page 227                               Page 229




   Golkow Litigation Services                             Page 58 (226 - 229)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further59Confidentiality
                                                       of 72. PageID #: 209182
                                                                           Review
                                   Page 230                                          Page 232




                                   Page 231                                          Page 233




                                              25   MR. MAZZA: Zach, if we're going to go back

   Golkow Litigation Services                                 Page 59 (230 - 233)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further60Confidentiality
                                                       of 72. PageID #: 209183
                                                                           Review
                                                     Page 234                Page 236
    1      to the DC, now might be a good time to take a --
    2          MR. BOWER: Let's just do a little bit
    3      longer.
    4          MR. MAZZA: Yeah.
    5          MR. BOWER: A couple more before I go back
    6      to the DC.
    7          MR. MAZZA: Are you okay with that?
    8          THE WITNESS: I'm fine.
    9   BY MR. BOWER:
   10      Q. Do you want a break? We can take a break
   11   if --
   12      A. No, sir. I'm fine.
   13      Q. Okay.




                                                   Page 235                  Page 237




   Golkow Litigation Services                                   Page 60 (234 - 237)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further61Confidentiality
                                                       of 72. PageID #: 209184
                                                                           Review
                                   Page 238                               Page 240




                                   Page 239                               Page 241




   Golkow Litigation Services                             Page 61 (238 - 241)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further62Confidentiality
                                                       of 72. PageID #: 209185
                                                                           Review
                                                   Page 242                                                   Page 244




   14        MR. MAZZA: Let's take that break before we
   15    do the next document.
   16        MR. BOWER: Can we just do -- I mean, we're
   17    taking a lot of breaks.
   18        MR. MAZZA: We've got one hour to go, so --
   19    actually, now we have less than an hour to go.
   20    And so I thought we'd take a break now and then
   21    finish the hour. So let's take a break before we
   22    do that document.
   23        MR. BOWER: I don't know if it's -- we can
   24    go off the record.
   25        THE VIDEOGRAPHER: Going off the record, the

                                                     Page 243                                                 Page 245
    1     time is 5:20.
    2        (Recess from 5:20 p m. until 5:34 p m.)
    3         THE VIDEOGRAPHER: We're going back on the
    4     record, beginning of Media File Number 7. The
    5     time is 5:34.
    6         (Abernathy Exhibit 25 was marked for
    7   identification.)




                                                                18   Q. Walmart had -- was doing business with
                                                                19 McKesson at the time, right? Its pharmacies were
                                                                20 ordering from McKesson, right?
                                                                21   A. Yes, sir.




   Golkow Litigation Services                                                        Page 62 (242 - 245)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further63Confidentiality
                                                       of 72. PageID #: 209186
                                                                           Review
                                   Page 246                               Page 248




                                   Page 247                               Page 249




   Golkow Litigation Services                             Page 63 (246 - 249)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further64Confidentiality
                                                       of 72. PageID #: 209187
                                                                           Review
                                   Page 250                               Page 252




                                   Page 251                               Page 253




   Golkow Litigation Services                             Page 64 (250 - 253)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further65Confidentiality
                                                       of 72. PageID #: 209188
                                                                           Review
                                                       Page 254                                                Page 256

    2    Q. In deciding whether to cut an order, you
    3 never determined whether a pharmacy may have ordered
    4 that same product from McKesson, did you?
    5     A. No, sir.
    6     Q. And you never determined whether -- you
    7   never considered whether that pharmacy may have
    8   ordered that product from AmerisourceBergen, did
    9   you?
   10     A. No, sir.




                                                       Page 255                                                Page 257
                                                                   1         MR. BOWER: All right. Let's go off the
                                                                   2     record for a minute.
                                                                   3         THE VIDEOGRAPHER: Going off the record.
                                                                   4     The time is 5:52.
                                                                   5        (Recess from 5:52 p m. until 5:57 p.m.)
                                                                   6         THE VIDEOGRAPHER: We're back on record, the
                                                                   7     beginning of Media File Number 8. The time is
                                                                   8     5:57.
                                                                   9         (Abernathy Exhibit 28 was marked for
                                                                  10   identification.)




   Golkow Litigation Services                                                          Page 65 (254 - 257)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further66Confidentiality
                                                       of 72. PageID #: 209189
                                                                           Review
                                   Page 258                               Page 260




                                   Page 259                               Page 261




   Golkow Litigation Services                             Page 66 (258 - 261)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further67Confidentiality
                                                       of 72. PageID #: 209190
                                                                           Review
                                   Page 262                               Page 264




                                   Page 263                               Page 265




   Golkow Litigation Services                             Page 67 (262 - 265)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further68Confidentiality
                                                       of 72. PageID #: 209191
                                                                           Review
                                                   Page 266                                                  Page 268
                                                               1 knowing that the drug is addictive.
                                                               2    Q. You agree they are considered dangerous,
                                                               3 correct?
                                                               4    A. Yes.




                                                              22       MR. BOWER: I think I'm done. Let's just go
                                                              23    off the record for a minute.
                                                              24       MR. MAZZA: Sure.
                                                              25       THE VIDEOGRAPHER: Going off the record.

                                                   Page 267                                                   Page 269
                                                               1    The time is 6:16.
                                                               2      (Recess from 6:16 p m. until 6:20 p.m.)
                                                               3       THE VIDEOGRAPHER: We're back on record,
                                                               4    beginning Media Number 9. The time is 6:20.




   19     Q. Okay. Would you agree that Schedule II
   20   drugs have a high potential for abuse?
   21     A. I believe they have -- I believe personally
   22   they have a -- they can be abused.
   23     Q. And what's that basis for your personal
   24   belief?
   25     A. Just what I hear on TV and, you know,

   Golkow Litigation Services                                                        Page 68 (266 - 269)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further69Confidentiality
                                                       of 72. PageID #: 209192
                                                                           Review
                                   Page 270                               Page 272




                                   Page 271                               Page 273




   Golkow Litigation Services                             Page 69 (270 - 273)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further70Confidentiality
                                                       of 72. PageID #: 209193
                                                                           Review
                                             Page 274                     Page 276




                                             Page 275                     Page 277




    8       MR. BOWER: Okay. Nothing further.
    9       MR. MAZZA: Okay. We can go -- let's go off
   10   the record right now.
   11       THE VIDEOGRAPHER: Going off record, the
   12   time is 6:30.
   13      (Recess from 6:30 p m. until 6:53 p m.)
   14       THE VIDEOGRAPHER: We are going on record,
   15   beginning of Media File Number 10. The time is
   16   6:53.
   17             CROSS-EXAMINATION




   Golkow Litigation Services                             Page 70 (274 - 277)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further71Confidentiality
                                                       of 72. PageID #: 209194
                                                                           Review
                                                Page 278                                                              Page 280
                                                             1             CERTIFICATE
                                                             2        I, SUSAN D. WASILEWSKI, Registered
                                                             3 Professional Reporter, Certified Realtime Reporter,
                                                             4 and Certified Realtime Captioner, do hereby
                                                             5 certify that, pursuant to notice, the deposition of
                                                             6 JEFF ABERNATHY was duly taken on Thursday,
                                                             7 November 15, 2018, at 9:37 a.m, before me.
                                                             8        The said JEFF ABERNATHY was duly sworn by me
                                                             9 according to law to tell the truth, the whole truth
                                                            10 and nothing but the truth and thereupon did testify
                                                            11 as set forth in the above transcript of testimony.
                                                            12 The testimony was taken down stenographically by me.
                                                            13 I do further certify that the above deposition is
                                                            14 full, complete, and a true record of all the
                                                            15 testimony given by the said witness, and that a
                                                            16 review of the transcript was requested.
                                                            17
                                                            18 ______________________________________________________
                                                            19 Susan D. Wasilewski, RPR, CRR, CCP, CMRS, FPR, CCR
                                                            20 (The foregoing certification of this transcript does
                                                            21 not apply to any reproduction of the same by any
                                                            22 means, unless under the direct control and/or
                                                            23 supervision of the certifying reporter.)
                                                            24
                                                            25

                                                Page 279                                                              Page 281
                                                             1                INSTRUCTIONS TO WITNESS
                                                             2
                                                             3
                                                             4         Please read your deposition over carefully
                                                             5   and make any necessary corrections. You should
    6         MR. MAZZA: All right.                          6   state the reason in the appropriate space on the
    7         THE VIDEOGRAPHER: All right. This              7   errata sheet for any corrections that are made.
    8     concludes today's deposition, we're going off      8
    9     record. The time is 6:58.                          9        After doing so, please sign the errata sheet
   10           (Discussion off the record.)                10   and date it. It will be attached to your
   11         MR. MAZZA: We reserve the witness's           11   deposition.
   12     signature and a pending review, and we ask that   12
   13     it be marked highly confidential, also pending    13        It is imperative that you return the
   14     review.                                           14   original errata sheet to the deposing attorney
   15         (Whereupon, the deposition concluded at       15   within thirty (30) days of receipt of the deposition
   16   6:58 p.m.)                                          16   transcript by you. If you fail to do so, the
   17                                                       17   deposition transcript may be deemed to be accurate
   18                                                       18   and may be used in court.
   19                                                       19
   20                                                       20
   21                                                       21
   22                                                       22
   23                                                       23
   24                                                       24
   25                                                       25


   Golkow Litigation Services                                                           Page 71 (278 - 281)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-1 Filed:
                               Subject   to 07/24/19
                                             Further72Confidentiality
                                                       of 72. PageID #: 209195
                                                                           Review
                                                             Page 282                                              Page 284
    1              ------                                                1
    2              ERRATA                                                2           LAWYER'S NOTES
    3              ------                                                3 PAGE LINE
    4 PAGE LINE CHANGE                                                   4 _____ _____ _____________________________________
    5 ____ ____ _________________________________________                5 _____ _____ _____________________________________
    6   REASON: _____________________________________________            6 _____ _____ _____________________________________
    7 ____ ____ _________________________________________                7 _____ _____ _____________________________________
    8   REASON: _____________________________________________            8 _____ _____ _____________________________________
    9 ____ ____ _________________________________________                9 _____ _____ _____________________________________
   10   REASON: _____________________________________________ 10 _____ _____ _____________________________________
   11 ____ ____ _________________________________________               11 _____ _____ _____________________________________
   12   REASON: _____________________________________________ 12 _____ _____ _____________________________________
   13 ____ ____ _________________________________________               13 _____ _____ _____________________________________
   14   REASON: _____________________________________________ 14 _____ _____ _____________________________________
   15 ____ ____ _________________________________________               15 _____ _____ _____________________________________
   16   REASON: _____________________________________________ 16 _____ _____ _____________________________________
   17 ____ ____ _________________________________________               17 _____ _____ _____________________________________
   18   REASON: _____________________________________________ 18 _____ _____ _____________________________________
   19 ____ ____ _________________________________________               19 _____ _____ _____________________________________
   20   REASON: _____________________________________________ 20 _____ _____ _____________________________________
   21 ____ ____ _________________________________________               21 _____ _____ _____________________________________
   22   REASON: _____________________________________________ 22 _____ _____ _____________________________________
   23 ____ ____ _________________________________________               23 _____ _____ _____________________________________
   24   REASON: _____________________________________________ 24 _____ _____ _____________________________________
   25                                                                   25 _____ _____ _____________________________________

                                                             Page 283
    1          ACKNOWLEDGMENT OF DEPONENT
    2
    3       I, ______________________________, do hereby
    4 acknowledge that I have read the foregoing pages, 1
    5 through 283, and that the same is a correct
    6 transcription of the answers given by me to the
    7 questions therein propounded, except for the
    8 corrections or changes in form or substance, if any,
    9 noted in the attached Errata Sheet.
   10
   11
   12 ________________________________              ________________
   13 JEFF ABERNATHY                                DATE
   14
   15
   16
   17
   18 Subscribed and sworn to before me this
   19 ____ day of ______________, 20___.
   20 My Commission expires: _________________
   21
   22 ________________________________________
   23 Notary Public
   24
   25


   Golkow Litigation Services                                                               Page 72 (282 - 284)
